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16
                            UNITED STATES DISTRICT COURT
17
                                  DISTRICT OF ARIZONA
18
     Manuel de Jesus Ortega Melendres, et al.,         NO. CV 07-02513-PHX-GMS
19
                                         Plaintiffs,   SHERIFF ARPAIO, CHIEF
20                                                     DEPUTY SHERIDAN, AND
                   v.                                  LIEUTENANT SOUSA’S MOTION
21                                                     FOR RECUSAL OF THE COURT
     Joseph M. Arpaio, et al.,                         AND ITS MONITOR
22
                                       Defendants.     (Oral Argument Requested)
23
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 1
           Defendant Joseph Arpaio and non-party Movants Gerard Sheridan and Joseph Sousa
 2
     (collectively “Movants”) respectfully move for an order terminating the Monitor and
 3
     recusing the Court from all future proceedings in this case. The Court and the Monitor have
 4
     engaged in improper ex parte communications concerning the merits of issues before the
 5
     Court, which is prohibited by: (1) 28 U.S.C. §§ 455(a) and 455(b); (2) the Due Process
 6
     Clause of the Fifth Amendment; (3) the Court’s Supplemental Permanent Injunction; and
 7
     (4) the Code of Conduct for United States Judges. For these reasons, and those more fully
 8
     stated in the following Memorandum of Points and Authorities, the Court must recuse itself
 9
     and the Monitor must be removed from all future proceedings in this case.
10
                     MEMORANDUM OF POINTS AND AUTHORITIES
11
     I.    INTRODUCTION.
12
           Moving for the recusal of a sitting judge is a serious matter. The record makes clear,
13
     however, that the Court and the Monitor have engaged in ex parte communications
14
     concerning the merits of issues before the Court, including (but not limited to): whether
15
     Movants have violated the law or complied with the Court’s orders, whether Movants
16
     should be held in contempt, whether the Monitor’s powers should be enlarged, and whether
17
     Movants or other government officials are credible and trustworthy witnesses. Making
18
     matters worse, many of these ex parte communications were effectively between the Court
19
     and parties to the case, for they involved the Monitor privately reporting to the Court
20
     information that the Monitor learned as a result of its ex parte communications with, and
21
     investigations of, Movants and other officers and employees of the Maricopa County
22
     Sheriff’s Office (MCSO).
23
           Ex parte communications such as these are “anathema in our system of justice,”
24
     Guenther v. Comm’r, 889 F.2d 882, 884 (9th Cir. 1989) (Guenther I) (quoting United States
25
     v. Thompson, 827 F.2d 1254, 1258–59 (9th Cir. 1987)), because “ ‘[f]airness can rarely be
26
     obtained by secret, one-sided determination of facts decisive of rights,’ ” American-Arab
27
     Anti-Discrimination Comm. v. Reno, 70 F.3d 1045, 1069 (9th Cir. 1995) (quoting Anti-
28
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 1
     Fascist Comm. v. McGrath, 341 U.S. 123, 170 (1951) (Frankfurter, J., concurring)). When
 2
     a court has engaged in ex parte communications about the merits of a case, the court must
 3
     recuse itself so that the matter will be heard before “a judge who has not been exposed to
 4
     ex parte communications . . . .” Guenther v. Comm’r, 939 F.2d 758, 762 (9th Cir. 1991)
 5
     (Guenther II). In particular, courts have uniformly held that when a judge has had ex parte
 6
     communications concerning the merits of a case with a special master, monitor, or other
 7
     judicial officer, neither the judge nor the judicial officer may continue to participate in the
 8
     case. In re Kensington Int’l, Ltd., 368 F.3d 289, 318 (3d Cir. 2004) (Kensington II); Edgar
 9
     v. K.L., 93 F.3d 256, 262 (7th Cir. 1996); see also In re Brooks, 383 F.3d 1036, 1043–44
10
     (D.C. Cir. 2004).
11
            Movants emphasize at the outset that the instant motion seeks only prospective relief.
12
     That is, this motion does not request that the Court vacate any of its prior decisions. Movants
13
     have contemporaneously requested leave to file a separate motion seeking discovery into
14
     the full scope and content of the Court’s ex parte communications, so that Movants may
15
     determine whether such vacatur is warranted. The law is clear that, in circumstances like
16
     this case, Movants are entitled to discovery into the full scope of ex parte communications
17
     between the Court and the Monitor. See, e.g., In re Brooks, 383 F.3d at 1044; In re
18
     Kensington Int’l, Ltd., 353 F.3d 211, 223 (3d Cir. 2003) (Kensington I); Edgar, 93 F.3d at
19
     258; Guenther I, 889 F.2d at 884–85.
20
            But regardless of whether retrospective relief is warranted, the law disqualifies the
21
     Court and the Monitor from participation in the case prospectively. See In re Cement &
22
     Concrete Antitrust Litig., 515 F. Supp. 1076, 1081–82 (D. Ariz. 1981) (Court must be
23
     recused prospectively even if prior rulings are not vacated); Kensington II, 368 F.3d at 318
24
     (same). To safeguard “the public’s confidence in the judicial process,” Liljeberg v. Health
25
     Servs. Acquisition Corp., 486 U.S. 847, 864 (1988), the judicial recusal statute, bedrock
26
     principles of due process, the Court’s Supplemental Permanent Injunction, the Code of
27
     Conduct for United States Judges, and the uniform case law addressing ex parte merits
28
                                                    2
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 1
     communications between a court and a special master or monitor authorized to
 2
     communicate with the parties ex parte, all prohibit the Court and Monitor from continuing
 3
     to participate in this case.
 4
            Accordingly, as Movants demonstrate in greater detail below, the Court should:
 5
     (1) order that the Monitor’s operations be suspended immediately pending resolution of this
 6
     motion, and (2) after briefing and argument, grant Movants’ request that the Court be
 7
     recused and the Monitor be removed from all future proceedings in this case.
 8
     II.    TIMELINESS CONCERNS CANNOT BAR THE COURT FROM
 9          REACHING THE MERITS OF MOVANTS’ REQUEST FOR
            PROSPECTIVE RECUSAL.
10
            The judicial recusal statute, 28 U.S.C. § 455, does not impose a timeliness
11
     requirement in the circumstances of this case, where the improper conduct is patent and
12
     Movants request only that the Court recuse itself on a going-forward basis. Simply put,
13
     “[p]assage of time is not conclusive if the justification for disqualification is compelling.”
14
     Edgar, 93 F.3d at 257. The Third Circuit acknowledged this rule in United States v. Furst,
15
     886 F.2d 558 (3d Cir. 1989), where it vacated a criminal sentence and then reassigned the
16
     case to a new judge because the original judge had engaged in ex parte conversations about
17
     the merits with defense counsel. The district court denied the recusal motion primarily on
18
     timeliness grounds, relying on cases applying Section 455’s timeliness requirement to
19
     requests to vacate prior decisions. Id. at 579–81. The Third Circuit reversed, holding that
20
     the motion could not be dismissed as untimely because the movant “filed his motion for
21
     disqualification while there remained some proceeding over which the judge would preside
22
     and the motion was directed only to that proceeding.” Id. at 581. The court held that
23
     “authorities dealing with situations in which recusals were sought to upset what had already
24
     been done” are simply inapposite when a party asks only for prospective recusal. Id.
25
     Accordingly, the Third Circuit addressed the merits of the motion and ultimately required
26
     the district court to recuse itself from all future proceedings. Id. at 583.
27
            The Third Circuit reaffirmed this rule in a case involving ex parte communications
28
                                                     3
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 1
     between the Court and its appointed advisors, requiring the district court to recuse itself
 2
     prospectively even though a party moved for recusal 22 months after learning about the
 3
     grounds for recusal. See Kensington II, 368 F.3d at 316–17. The Kensington II Court
 4
     emphasized that the movants sought only forward-looking relief and that Section 455
 5
     requires a weighing of the “competing institutional interest in avoiding the appearance of
 6
     impropriety, on the one hand, and avoiding the abuse of § 455(a) procedure, on the other.”
 7
     Id. Here, just as in Kensington II, because “the seriousness of the grounds for recusal that
 8
     exist on this record far outweighs any significance” of the timeliness of the recusal motion,
 9
     this Court cannot “have the issue of timeliness trump what [it] ha[s] concluded are the
10
     principles of § 455(a).” Id. at 317. See also Bradley v. Milliken, 426 F. Supp. 929, 931 (E.D.
11
     Mich. 1977) (holding that plaintiffs’ motion “is untimely” but nonetheless addressing the
12
     merits because “[w]ere plaintiffs’ assertions grounds for recusal, we could not sit on this
13
     case regardless of any implied waiver or the untimeliness of the motion”).
14
            The Ninth Circuit has likewise recognized that courts should reach the merits of
15
     substantial recusal motions, even if those motions could have been brought earlier in the
16
     proceeding. See, e.g., Toth v. Trans World Airlines, Inc., 862 F.2d 1381, 1388 & n.4 (9th
17
     Cir. 1988) (civil case addressing the merits of a recusal motion raised for the first time on
18
     appeal); Noli v. Comm’r, 860 F.2d 1521, 1527 (9th Cir. 1988) (same); In re Manoa Fin.
19
     Co., 781 F.2d 1370, 1373 (9th Cir. 1986) (same). To be sure, the Ninth Circuit has stated in
20
     some cases that a litigant should not be allowed to use an untimely recusal motion
21
     to vacate prior rulings and thus give litigants a “second bite at the apple.” E. & J. Gallo
22
     Winery v. Gallo Cattle Co., 967 F.2d 1280, 1295 (9th Cir. 1992). But in cases in which
23
     further proceedings before the trial court are contemplated, the Ninth Circuit routinely
24
     addresses the recusal motion on the merits, even if it alternatively denies the motion as
25
     untimely. 1 In other words, the “refusal of courts to ‘start over’ has rested not on the mere
26
            1
27            See United States v. Hernandez, 109 F.3d 1450, 1453 (9th Cir. 1997); Datagate,
     Inc. v. Hewlett-Packard Co., 941 F.2d 864, 871 (9th Cir. 1991); Salmeron v. United States,
28
                                                    4
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 1
     passage of time, but on the events that had occurred and the balancing of equity/fairness
 2
     considerations in deciding whether to expunge those events from history’s pages.” Polaroid
 3
     Corp. v. Eastman Kodak Co., 867 F.2d 1415, 1419 (Fed. Cir. 1989) (citing, inter alia,
 4
     United States v. Conforte, 624 F.2d 869 (9th Cir. 1980)).
 5
            Concerns about a “second bite at the apple” are not implicated where, as here, the
 6
     recusal request seeks only prospective relief—that is, that the Court recuse itself going
 7
     forward. And the overriding public interest in ensuring public confidence in the judiciary
 8
     demands recusal going forward, lest the Court and Monitor preside over this case for years
 9
     to come even though the improper ex parte communications establish perceived and
10
     possibly actual bias. See Kensington II, 368 F.3d at 316–17; Furst, 886 F.2d at 581–83.
11
     Were the rule otherwise, a district court could continue to preside over a case for years
12
     despite undisputed violations of the recusal statute, due process norms, and ethical duties,
13
     simply because a party could have brought the recusal motion earlier in the litigation.
14
            The Ninth Circuit, like all of its sister circuits to have addressed the issue, has
15
     consistently distinguished between motions that request retrospective relief in the form of
16
     vacatur of prior decisions (which have occasionally been denied for timeliness reasons) and
17
     motions that request prospective relief in the form of recusal or reassignment for future
18
     proceedings (which are addressed on the merits even if they could have been raised earlier
19
     in the proceedings). For example, in Waggoner v. Dallaire, 649 F.2d 1362 (9th Cir. 1981),
20
     the Ninth Circuit dismissed as untimely a post-trial motion, brought under 28 U.S.C. § 144,
21
     to recuse the judge and vacate its judgment, but the court then remanded for further
22
     proceedings and held that its ruling about timeliness “does not preclude a renewal of the
23
24   724 F.2d 1357, 1365 n.5 (9th Cir. 1983). Cf. United States v. Sarno, 73 F.3d 1470, 1499 &
     n.19 (9th Cir. 1995) (pro se criminal defendant not permitted to seek recusal on appeal
25   where he failed to file a properly noticed recusal motion in the district court despite the
     district court’s invitation to do so); United States v. Conforte, 624 F.2d 869, 879–80 (9th
26   Cir. 1980) (rejecting a motion to vacate a conviction and grant a new trial, based on the
     district court’s alleged bias, because the ground for recusal was not timely raised, but
27   leaving open the possibility that even in such a circumstance, timeliness concerns may be
     disregarded for “exceptional circumstances” when a court is confronted with “the delicate
28   matter of disqualification under section 455”).
                                                   5
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 1
     motion for disqualification upon remand” because a motion brought in advance of future
 2
     proceedings “would not be untimely and may be subject to consideration by the district
 3
     court.” Id. at 1370. See also, e.g., California v. Montrose Chem. Corp. of California, 104
 4
     F.3d 1507, 1521 (9th Cir. 1997) (holding that even if the movant’s Section 455 recusal
 5
     motion, raised for the first time on appeal, was untimely, the Court undoubtedly has
 6
     “jurisdiction to consider a request for reassignment under [28 U.S.C.] § 2106 as well as
 7
     under our inherent authority to reassign a case” for purposes of future proceedings); United
 8
     States v. Sears, Roebuck & Co., Inc., 785 F.2d 777, 780 (9th Cir. 1986) (reassigning the
 9
     case to a new judge on remand pursuant to Section 2106 and the Court’s inherent authority,
10
     even though recusal had not been considered at all in the district court); see also United
11
     States v. Tucker, 78 F.3d 1313, 1323–24 (8th Cir. 1996); O’Rourke v. City of Norman, 875
12
     F.2d 1465, 1475 (10th Cir. 1989). In sum, in cases in which a substantial recusal motion is
13
     brought when significant proceedings must still be had in the case, courts have recognized
14
     their obligation to reach the merits of the recusal question, either rejecting timeliness
15
     objections (as in Kensington II) or issuing alternative rulings about timeliness that are, at
16
     most, “extra icing on a cake already frosted.” Yates v. United States, 135 S. Ct. 1074, 1093
17
     (2015) (Kagan, J., dissenting). 2
18
            2
              See, e.g., Kensington II, 368 F.3d at 316–17 (reaching the merits without regard to
19
     timeliness concerns, and then holding that the District Court must be recused); Furst, 886
20   F.2d at 581–83 (same); Edgar, 93 F.3d at 257–58 (brushing aside timeliness concern and
     reaching the merits, holding that the District Court must be recused); United States v.
21   O’Brien, 18 F. Supp. 3d 25, 32 (D. Mass. 2014) (holding that a recusal motion was untimely
22   because the parties waited 15 months to file it, nonetheless reaching the merits because “the
     relatively high stakes involved” made the court “reluctant to deny the motion solely on the
23   grounds that it is untimely,” and ultimately holding that the Court must recuse itself from
     the case); Church of Scientology of Cal. v. Cooper, 495 F. Supp. 455, 458–60 (C.D. Cal.
24
     1980) (acknowledging “some doubt” about whether a recusal motion was timely, but
25   nonetheless addressing the merits and determining that the Court must recuse itself under
     Section 455(a)); see also Sataki v. Broadcasting Bd. of Governors, 733 F. Supp. 2d 54, 64–
26   66 (D.D.C. 2010) (holding that although a recusal motion was untimely, the Court,
27   “cognizant that section 455 imposes a duty upon this Court to consider recusal sua
     sponte, . . . shall proceed to consider the merits of the present Motion to Disqualify”); Bin-
28
                                                    6
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 1
            In any event, this motion is timely because Movants have repeatedly preserved the
 2
     objection they now raise in this motion. When the Court appointed the Monitor in this case,
 3
     Plaintiffs requested that the order establishing the Monitor’s powers authorize ex parte
 4
     communications not only between the Monitor and the parties but also between the Monitor
 5
     and the Court. See Proposed Consent Order at 68 (Aug. 16, 2013), Doc. 592-1. The Court,
 6
     however, sustained Defendant’s objection and refused to authorize ex parte
 7
     communications between the Court and the Monitor. See Transcript of Status Conference
 8
     at 11–12 (Aug. 30, 2013), Doc. 603; Supplemental Permanent Injunction/Judgment Order
 9
     ¶ 129 (Oct. 2, 2013), Doc. 606 (“Monitor Authority Order”). When Defendant’s counsel
10
     subsequently objected once again, the Court refused to discontinue its ex parte
11
     communications with the Monitor, but stated that Defendants have “preserved the issue to
12
     the extent that you believe it is a problem. . . . [Y]ou have preserved it for the record.”
13
     Transcript of Status Conference at 57 (Aug. 11, 2015), Doc. 1237 (“Aug. 11, 2015
14
     Transcript”).
15
     III.   RECUSAL OF THE COURT AND ITS MONITOR IS REQUIRED.
16
            A.       Ex Parte Communications Between the Court and the Monitor Are
17                   Prohibited and Require Recusal of Both the Court and the Monitor.
18          Four separate legal and ethical guarantees prohibit ex parte communications about

19   the merits between the Court and the Monitor. In the pages that follow, Movants

20   demonstrate that the judicial recusal statute, the Due Process Clause, this Court’s Monitor

21   Authority Order, and the Code of Conduct for United States Judges all prohibit the ex parte

22
     Wahad v. Coughlin, 853 F. Supp. 680, 684 (S.D.N.Y. 1994) (addressing an untimely recusal
23   motion on the merits, “given the seriousness of such a motion”); Lamborn v. Dittmer, 726
     F. Supp. 510, 515 (S.D.N.Y. 1989) (holding that although a recusal motion is untimely,
24
     “ ‘since the impartiality of the court has been questioned, it is important to address
25   [defendant’s] contentions on the merits’ ” (alteration in original) (quoting Paschall v.
     Mayone, 454 F. Supp. 1289, 1300 (S.D.N.Y. 1978))); Tenants & Owners in Opposition to
26   Redevelopment v. HUD, 338 F. Supp. 29, 32 (N.D. Cal. 1972) (concluding that a recusal
27   motion was timely filed because, when courts are faced with weighty recusal motions
     “involving serious allegations against a District Court Judge[,] the courts should not be too
28   technical” in dismissing a motion on timeliness grounds).
                                                   7
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 1
     communications that have occurred here and require recusal of the Court and removal of
 2
     the Monitor.
 3
                      1.     The Judicial Recusal Statute Prohibits Ex Parte Merits
 4                           Communications.
 5             The judicial recusal statute provides that a judge “shall disqualify himself in any

 6   proceeding in which his impartiality might reasonably be questioned,” 28 U.S.C. § 455(a),

 7   or when the judge has “personal knowledge of disputed evidentiary facts concerning the

 8   proceeding,” id. § 455(b)(1). Each subsection requires the disqualification of both the Court

 9   and the Monitor where, as here, they have had ex parte communications concerning the

10   merits.

11             It is black-letter law, of course, that ordinarily “ex parte communications will not be

12   tolerated.” Guenther v. Comm’r, 889 F.2d 882, 884 (9th Cir. 1989) (Guenther I) (quoting

13   United States v. Thompson, 827 F.2d 1254, 1258–59 (9th Cir. 1987)); see also Alexander

14   Shokai, Inc. v. Comm’r, 34 F.3d 1480, 1484 (9th Cir. 1994) (same). To be sure, ex parte

15   communications that concern only “routine administrative matters do not raise any

16   inference of bias” or warrant recusal. Blixseth v. Yellowstone Mountain Club, LLC, 742 F.3d

17   1215, 1220 (9th Cir. 2014). But when the trial court has been exposed to an ex parte

18   communication touching on the merits of the case or the character of those before the court,

19   the matter should be reassigned to a different “judge who has not been exposed to ex parte

20   communications . . . .” Guenther v. Comm’r, 939 F.2d 758, 762 (9th Cir. 1991) (Guenther

21   II). See also Willenbring v. United States, 306 F.2d 944, 946 (9th Cir. 1962) (recusal not

22   warranted where “[i]t is not suggested or implied that any improper conduct took place in

23   this [ex parte] conference or that the merits of the case were discussed”).

24             When ex parte conversations touch on the merits, prospective recusal is required, for

25   once a judge has been improperly exposed to information ex parte, “it is difficult, if not

26   impossible, for a judge, no matter how sincere, to purge that information from her mind—

27   and, equally, to maintain the perception of impartiality.” United States v. Craven, 239 F.3d

28   91, 103 (1st Cir. 2001). Simply put, were the same judge to continue to preside, “it would
                                                       8
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 1
     be surpassingly difficult for her to disregard the guidance that she previously received from”
 2
     the advisor who communicated ex parte. Id.
 3
            Indeed, the Ninth Circuit has held that when a trial court engages in unauthorized ex
 4
     parte communications about the merits, prospective recusal is mandatory. See Guenther II,
 5
     939 F.2d at 762. In Guenther II, the Tax Commissioner’s counsel had sent an ex parte
 6
     communication to the Tax Court discussing the merits of the case, accusing the taxpayers
 7
     of discovery violations, impugning their credibility, and suggesting that they might present
 8
     fabricated evidence at trial. Id. at 760. The Ninth Circuit vacated the judgment against the
 9
     taxpayers and required the Tax Court to recuse itself from all future proceedings,
10
     emphasizing that the ex parte communications contained “serious” allegations “going both
11
     to the merits of the case and to the [taxpayers’] character generally.” Id. at 761. 3
12
            The Seventh, Third, and D.C. Circuits have all recognized that recusal is warranted
13
     when a District Court engages in ex parte communications about the merits with its
14
     appointed judicial officers. The Seventh Circuit’s decision in Edgar v. K.L., 93 F.3d 256
15
     (7th Cir. 1996) is materially indistinguishable from this case. Edgar involved a class action
16
     challenge to the Illinois mental health care system, where the District Court had appointed
17
     a panel of three experts who were permitted to meet ex parte with members of the plaintiff
18
     class and defendants’ employees. Id. at 257. As in this case, the governing order in Edgar
19
     did not permit ex parte communications about the merits between the Court and its experts,
20
     id. at 259, yet the experts did in fact meet ex parte with the judge, apparently to discuss the
21
     merits, id. at 257.
22
            The Seventh Circuit began its analysis with the established principle that recusal is
23
24          3
              Guenther II was brought under the Due Process Clause rather than Section 455,
25   likely because “the mandatory recusal provisions in section 455 do not apply to tax court
     judges.” Nobles v. Comm’r, 105 F.3d 436, 438 (9th Cir. 1997). The Due Process Clause
26   provides only a “constitutional floor,” Bracy v. Gramley, 520 U.S. 899, 904 (1997), and the
     “circuits uniformly have concluded that the federal recusal statute establishes stricter
27   grounds for disqualification than the Due Process Clause.” Davis v. Jones, 506 F.3d 1325,
     1336 (11th Cir. 2007). If recusal was warranted in Guenther II based on the Due Process
28   Clause, it follows a fortiori that Section 455 requires recusal under similar facts.
                                                     9
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 1
     required if “any meeting between judge and experts touch[ed] the merits, or procedures
 2
     affecting the merits.” Edgar, 93 F.3d at 258. The court stated that it could not know whether
 3
     the admitted ex parte communications between the district court and its experts concerned
 4
     the merits because the district court had denied discovery on the grounds of “judicial
 5
     privilege.” Id. The district court’s claim of judicial privilege alone required recusal, the
 6
     Seventh Circuit stated, because “[n]o privilege covers arrangement of administrative
 7
     details,” and so “[t]o invoke a privilege is therefore to confess that the discussions covered
 8
     the substance of potential testimony and the conduct of the litigation . . . .” Id. The Seventh
 9
     Circuit also “assume[d]” that the ex parte communications concerned the merits because
10
     “no evidence in the record undermines the inferences . . . to be drawn” from the notes of an
11
     ex parte meeting between the court and its advisors. Id.
12
            The Seventh Circuit thus held that recusal was warranted based on Section 455(b)(1),
13
     because the district court had impermissibly obtained “personal knowledge of disputed
14
     evidentiary facts concerning the proceeding.” The court emphasized that “[o]ff-the-record
15
     briefings in chambers . . . leave no trace in the record—and in this case the judge has
16
     forbidden any attempt at reconstruction.” Edgar, 93 F.3d at 259. Because the experts had
17
     communicated ex parte with the parties, and then communicated what they had learned ex
18
     parte to the district court, the impropriety was “no less than if the judge had decided to take
19
     an undercover tour of a mental institution to see how the patients were treated.” Id.
20
            The Edgar Court also held that recusal was warranted under Section 455(a), which
21
     concerns the appearance of bias. The court explained that “[t]he discussions in chambers
22
     were calculated, material, and wholly unnecessary,” and the experts who had met ex parte
23
     with the district court “were loudly denouncing Illinois’ mental health system.” Edgar, 93
24
     F.3d at 259–60. Adding that the record “lend[s] credence to a concern that the judge and
25
     the experts became excessively cozy as a result of these meetings,” the Seventh Circuit held
26
     that an objective observer “would conclude that a preview of evidence by a panel of experts
27
     who had become partisans carries an unacceptable potential for compromising
28
                                                    10
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 1
     impartiality.” Id. at 260. The Seventh Circuit thus required both the district court and the
 2
     experts to recuse themselves from the case. Id. at 261.
 3
            The facts of this case are closely analogous to those in Edgar. In both cases, the
 4
     monitors were authorized to communicate ex parte with the parties but not with the Court.
 5
     And yet, in both cases, the monitors communicated what they learned ex parte to the Court,
 6
     in private “[o]ff-the-record briefings in chambers.” Edgar, 93 F.3d at 259. These
 7
     communications are tantamount to, and therefore just as improper as, ex parte
 8
     communications between the Court and one of the parties themselves. Likewise, in both
 9
     Edgar and this case, the monitors have denounced the defendants in their public filings, and
10
     so in both cases it may be presumed that they have done the same in private with the judge.
11
     This case actually presents a stronger case for recusal, because in Edgar the record was
12
     equivocal about whether merits-related discussions had occurred, and the court focused on
13
     one particular secret conversation between the court and monitor. Here, the record leaves
14
     no doubt that the Court and the Monitor have engaged in numerous ex parte conversations
15
     concerning the merits. See Part B, infra.
16
            The Third Circuit’s seminal decision in In re Kensington, 368 F.3d 289 (3d Cir.
17
     2004) (Kensington II) is to the same effect, holding that recusal is required when the Court
18
     has engaged in improper ex parte communications about the merits with the parties and
19
     with the Court’s own appointed judicial officers. The Third Circuit held that the ex parte
20
     conversations between the Court and the parties were problematic because they were not
21
     “limited to procedural matters” but rather “went to the very heart of the proceedings,” and
22
     because there was no record of the conversations, depriving the parties of any opportunity
23
     “to know precisely what was said, when it was said, by whom, and what effect could be
24
     drawn from their offerings.” Id. at 311. And the ex parte conversations between the Court
25
     and its biased experts “presented an even more egregious problem.” Id. Although the Third
26
     Circuit did not have complete “knowledge about [the] content” of the ex parte
27
     conversations, the record indicated that the Court and the advisors had discussed the merits.
28
                                                   11
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 1
     Id. Portions of the record indicated, for example, that the advisors had disparaged a potential
 2
     expert witness and criticized a defense that might be raised. Id. The Third Circuit thus held
 3
     that the district court must be recused under Section 455(a) because, as relevant here,
 4
     “without knowledge of what was discussed at these [ex parte] meetings,” the movants
 5
     “could not respond to these ‘silent’ facts” alleged against them. Id. at 309. The court
 6
     emphasized that ex parte communications “run contrary to our adversarial trial system,”
 7
     which relies upon “a debate between adversaries” in open court as “the truth-seeking
 8
     function of trials.” Id. at 310. 4
 9
            The D.C. Circuit has likewise made clear that a district court must be recused when
10
     it engages in ex parte conversations about the merits with a court-appointed monitor or
11
     expert. The district court in In re Brooks, 383 F.3d 1036 (D.C. Cir. 2004), had appointed
12
     monitors to review the Federal Government’s trusteeship of certain Native American funds.
13
     As in this case, the monitors had investigated numerous officials affiliated with the
14
     government defendant and had then “transmitted” that information ex parte to the District
15
     Court. Id. at 1041. The D.C. Circuit did not require recusal, but only because “the district
16
     judge has described ‘the nature of the ex parte contacts,’ and stated unequivocally that those
17
     contacts were of a procedural and not a substantive nature.” Id. at 1044. Here, by contrast,
18
     the record shows (see Part B, infra) that the Court and the Monitor have indeed engaged in
19
     extensive ex parte discussions concerning the merits, and In re Brooks makes clear that
20
     under those circumstances, recusal is required. See also Cobell v. Norton, 237 F. Supp. 2d
21
     71, 90 (D.D.C. 2003) (district court decision below in In re Brooks, acknowledging that
22
            4
23            Kensington II emphasized that the advisors in that case had a conflict of interest,
     and that a judge might be allowed to have ex parte communications with advisors who are
24   unbiased, so long as the judge affords the parties notice of the substance of the advice and
     an opportunity to respond. Kensington II, 368 F.3d at 305. The court also stated that a judge
25   may have ex parte communications with the parties, so long as the parties consent to those
     communications. Id. at 311. In this case, of course, the Monitors are not advisors but rather
26   investigators who have communicated their investigatory findings ex parte to the Court.
     Movants have not been given notice of the substance of these communications to the Court
27   or an opportunity to respond. Nor have they consented to these ex parte communications,
     which, as discussed, effectively amount to ex parte communications between the Court and
28   the parties.
                                                    12
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 1
     recusal would have been required “if the Master had conveyed information he had obtained
 2
     in an investigatory capacity to the Court during these consultations”).
 3
            As previously noted, these cases reflect a uniform body of law requiring
 4
     disqualification of judicial officers in circumstances such as these here. Indeed, we have
 5
     found no case, regardless of the timeliness of the recusal motion, in which a judge has been
 6
     permitted to continue to preside over an ongoing case after the judge has engaged in
 7
     unauthorized ex parte communications concerning the merits of the case. The same result
 8
     is required here. 5
 9
                    2.     The Due Process Clause Prohibits Ex Parte Merits
10                         Communications.
11          Bedrock due process principles also prohibit ex parte communications between the

12   Court and the Monitor. “The core of due process is the right to notice and a meaningful

13   opportunity to be heard.” LaChance v. Erickson, 522 U.S. 262, 266 (1998). Ex parte

14   communications deprive parties of both notice and an opportunity to respond to the claims

15   levied against them. When a court has discussed the merits of a case ex parte with a court-

16   appointed judicial officer, the court has been provided with “information that cannot be

17   ‘controverted or tested by the tools of the adversary process.’ ” In re Brooks, 383 F.3d at

18   1042 (alteration omitted) (quoting Edgar, 93 F.3d at 259). In other words, “[i]f judges

19   engage in ex parte conversations with the parties or outside experts, the adversary process

20   is not allowed to function properly and there is an increased risk of an incorrect result.”

21   Kensington II, 368 F.3d at 310. As the Supreme Court has emphasized in the course of

22   requiring a judge to recuse himself based on the Due Process Clause, “[t]he citizen’s respect

23   for judgments depends in turn upon the issuing court’s absolute probity. Judicial integrity

24   is, in consequence, a state interest of the highest order.” Caperton v. A.T. Massey Coal Co.,

25          5
              The recusal statute’s prohibitions against bias and the appearance thereof apply no
26   less to the Monitor than to the Court. FED. R. CIV. P. 53(a)(2) (“A master must not have a
     relationship to the parties, attorneys, action, or court that would require disqualification of
27   a judge under 28 U.S.C. § 455, unless the parties, with the court’s approval, consent to the
     appointment after the master discloses any potential grounds for disqualification.”); United
28   States v. Apple Inc., 787 F.3d 131, 138 (2d Cir. 2015).
                                                    13
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 1
     556 U.S. 868, 889 (2009) (quoting Republican Party of Minn. v. White, 536 U.S. 765, 793
 2
     (2002) (Kennedy, J., concurring)).
 3
            Whether a party “received due process depends on whether they had an opportunity
 4
     to participate in determination of the relevant issues and on whether the ex parte
 5
     [communications] unfairly prejudiced them.” Guenther I, 889 F.2d at 884. As already
 6
     discussed, the Ninth Circuit held in Guenther II that the Due Process Clause required recusal
 7
     because the court had engaged in prejudicial ex parte communications about the merits with
 8
     opposing counsel. Guenther II, 939 F.2d at 761. The Due Process Clause requires no less
 9
     here, where the Court has engaged in such improper communications with its appointed
10
     Monitor, who has in turn had extensive ex parte merits communications with the parties
11
     and their counsel.
12
                   3.     This Court’s Monitor Authority Order Does Not Permit Ex Parte
13                        Communications Between the Court and the Monitor.
14          The Monitor Authority Order does not permit ex parte communications between the

15   Court and the Monitor. Federal Rule of Civil Procedure 53 requires the Court to identify

16   “the circumstances, if any, in which the [monitor] may communicate ex parte with the court

17   or a party.” FED. R. CIV. P. 53(b)(2)(B). 6 The Monitor Authority Order provides only that

18   “[i]n carrying out [its] duties, the Monitor shall be permitted to have ex parte

19   communications with the Parties.” Supplemental Permanent Injunction/Judgment Order

20   ¶ 129 (Oct. 2, 2013), Doc. 606 (“Monitor Authority Order”).

21          The Court adopted this prohibition against ex parte communications after

22   Defendants specifically objected to ex parte communications between the Court and the

23   Monitor. Plaintiffs had initially proposed that the Monitor should “be permitted to have ex

24   parte communications with the Parties and the District Court.” See Proposed Consent Order

25
            6
26            Although Rule 53 speaks of “Masters,” the Rule applies equally to judicial officers
     identified as “Monitors.” See, e.g., National Org. for the Reform of Marijuana Laws v.
27   Mullen, 828 F.2d 536, 539 (9th Cir. 1987); Thompson v. Enomoto, 815 F.2d 1323, 1325
     (9th Cir. 1987); Apple, 787 F.3d at 138; Ruiz v. Estelle, 679 F.2d 1115, 1161 (5th Cir. 1982);
28   Howe v. City of Akron, 17 F. Supp. 3d 690, 690–91 (N.D. Ohio 2014).
                                                   14
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 1
     at ¶ 162 (Aug. 16, 2013), Doc. 592-1 (emphasis added). Plaintiffs’ request was tantamount
 2
     to a request that the Court be allowed to have direct ex parte communications with the
 3
     parties themselves. Accordingly, Defendants opposed this request, arguing that the Monitor
 4
     should “be permitted to have ex parte communications with the Parties” only. See Exhibit
 5
     4 to Defendants’ Brief Re Justifications for Competing Positions on the Terms of the
 6
     Proposed Consent Decree at ¶ 11 (Aug. 23, 2013), Doc. 595-1. At a status conference
 7
     convened to address the scope of the authority that would be granted to the Monitor,
 8
     Defendants once again objected to ex parte communications between the Monitor and the
 9
     Court. The Court sustained Defendants’ objection and stated that it would permit
10
     Defendants to be present whenever it had communications with the Monitor:
11
                  THE COURT: If I want to have ex-parte communications with
12                the monitor, are the parties going to object?
13                If you object, I’ll let you stand – –
14                MR. CASEY: Yes – –
15                THE COURT: – – in on any of the – –
16                MR. CASEY: – – defendants object.
17                THE COURT: – – communications. All right.
18   Transcript of Status Conference at 11–12 (Aug. 30, 2013), Doc. 603.

19         As noted, the Monitor Authority Order that the Court entered shortly after the status

20   conference conspicuously omitted the language proposed by Plaintiffs that would have

21   authorized the Court to communicate ex parte with the Monitor. See Monitor Authority

22   Order ¶ 129. Thus, ex parte communications between the Monitor and the Court are strictly

23   prohibited. See Edgar, 93 F.3d at 258 (holding that an injunction forbade ex parte

24   communications between the Court and a panel of experts, because the experts proposed

25   that they could communicate ex parte with the Court but this “language was deleted before

26   the order was entered”).

27         Other provisions of the Monitor Authority Order confirm that the Monitor may not

28   discuss the merits ex parte with the Court. For example, the Monitor’s reports concerning
                                                   15
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 1
     MCSO’s compliance must be made “to the parties and the Court.” Id. ¶ 126; see also id.
 2
     ¶ 31 (Monitor must report “to the Court and the Parties”); id. ¶ 138 (Monitor’s
 3
     recommendations must be made “to the parties and the Court”). Although the Monitor must
 4
     “file with the Court” his assessment of MCSO’s compliance, those reports “shall be public
 5
     except for information covered by privacy laws or that is otherwise confidential.” Id.
 6
     ¶¶ 130–31. Even then, any redacted information may not be provided solely to the Court,
 7
     but rather must be “filed under seal with the Court and provided to the Parties.” Id. ¶ 131.
 8
            On August 11, 2015, Defendants objected again to ex parte communications between
 9
     the Court and the Monitor, emphasizing that “[e]x parte communications between the
10
     monitor with respect to interviews concerns me a great deal with respect to protecting my
11
     client’s due process rights.” Aug. 11, 2015 Transcript at 56. This time, the Court overruled
12
     the objection, stating that the ex parte conversations were necessary for the Court “to
13
     supervise the monitor in his work. . . . I don’t know how to do that without having some
14
     communication with the monitor.” Id. at 57. But the Court twice emphasized that
15
     Defendants had preserved their objection, stating: “And so you’ve preserved the issue to
16
     the extent that you believe it is a problem, but I think it’s clear that I have the obligation to
17
     supervise the monitor in his work,” id., and then adding once again: “[Y]ou have preserved
18
     it for the record,” id.
19
            Accordingly, because FED. R. CIV. P. 53 requires that any ex parte communications
20
     be expressly authorized by the order appointing the Monitor, and because the Monitor
21
     Authority Order does not authorize such communications, the Court is precluded from
22
     having any ex parte communications with its Monitor.
23
                    4.         The Code of Conduct for United States Judges Prohibits Ex Parte
24                             Merits Communications.
25          The Code of Conduct for United States Judges provides a fourth prohibition against

26   ex parte merits communications between the Court and the Monitor. Canon 3(A)(4) of the

27   Code of Conduct provides that judges generally “should not initiate, permit, or consider ex

28   parte communications or consider other communications concerning a pending or
                                                     16
     Case 2:07-cv-02513-GMS Document 1878 Filed 11/10/16 Page 23 of 37



 1
     impending matter that are made outside the presence of the parties or their lawyers.” Canon
 2
     3(A) “is designed to prevent all of the evils of ex parte communications: ‘bias, prejudice,
 3
     coercion, and exploitation.’ ” Kensington II, 368 F.3d at 310 (quoting Jeffrey M. Shaman
 4
     et al., Judicial Conduct & Ethics § 5.03 (3d ed. 2000)).
 5
            There are certain exceptions to the Canon’s prohibition on ex parte communications,
 6
     but none apply here. Although a Judge may “initiate, permit, or consider ex parte
 7
     communications as authorized by law,” Canon 3(A)(4)(a), neither a statute nor the Monitor
 8
     Authority Order permits such ex parte communications between the Court and the Monitor.
 9
     And although the Court may communicate ex parte “when circumstances require it, . . . for
10
     scheduling, administrative, or emergency purposes,” such ex parte communications may
11
     “not address substantive matters.” Canon 3(A)(4)(b). The Court’s ex parte merits
12
     communications with the Monitor violated Canon 3(A)(4). 7
13
            B.     The Court and Monitor Have Discussed Ex Parte the Merits of Issues
14                 Before the Court on Numerous Occasions.
15          The Court vested the Monitor with sweeping authority to “collect and maintain all

16   data and records necessary to (1) implement [the Court’s] order and document

17   implementation of and compliance with [the Monitor Authority Order] . . . and (2) perform

18   ongoing quality assurance in each of the areas addressed by [the Monitory Authority

19   Order].” Monitor Authority Order ¶ 10. The Monitor has near-plenary power not only to

20   access MCSO documents and facilities, but also to interview MCSO personnel, and

21   Defendants have a legal duty to “ensure that the Monitor has timely, full and direct access

22   to all personnel, documents, facilities and Order-related Trainings and meetings that the

23   Monitor reasonably deems necessary to carry out its duties.” Id. ¶ 145.

24          On July 26, 2016, the Court further expanded the Monitor’s powers. The Court

25   entered a supplemental permanent injunction that, inter alia, vested the Monitor with

26          7
             The Code’s prohibition against ex parte communication applies no less to the
27   Monitor than to the Court. See Apple, 787 F.3d at 140–41 (holding that a court-appointed
     “monitor is therefore subject to prohibitions against improper ex parte communications” in
28   Canon 3(A)(4)); see also FED. R. CIV. P. 53(a)(2).
                                                  17
     Case 2:07-cv-02513-GMS Document 1878 Filed 11/10/16 Page 24 of 37



 1
     “authority to supervise and direct all of the MCSO’s internal affairs investigations
 2
     pertaining to” certain aspects of MCSO misconduct. Second Amended Second
 3
     Supplemental Permanent Injunction/Judgement Order ¶ 275 (July 26, 2016), Doc. 1765.
 4
     With respect to these matters, “the Monitor has plenary authority,” except where the Court
 5
     has specifically vested authority in a separate independent body. Id. ¶ 277. In order to assess
 6
     the adequacy of Defendants’ internal investigations, the Monitor is “given full access to all
 7
     MCSO internal affairs investigations or matters that might have been the subject of an
 8
     internal affairs investigation by the MCSO.” Id. ¶ 292.
 9
            The Monitor acts as a judicial officer of the Court. The Monitor Authority Order
10
     provides that the Monitor’s role is to “assist [the Court] with implementation of, and assess
11
     compliance with, this Order.” Monitor Authority Order ¶ 119. The Monitor is “subject to
12
     the supervision and orders of the Court,” id. ¶ 126, and the Court has plenary authority to
13
     “order the removal of the Monitor for any reason sua sponte,” id. ¶ 122. The Court has
14
     repeatedly stated that the Monitor is an arm and agent of the Court, and that Defendants
15
     “should accept instruction from Chief Warshaw as instruction from [the Court].” Transcript
16
     of Telephonic Conference at 30 (May 16, 2014), Doc. 715 (“May 16, 2014 Transcript”);
17
     see also, e.g., id. at 28 (“[W]hat [the Monitor] says has the complete imprimatur of this
18
     Court”).
19
            The Court has acknowledged that “the Monitor is in constant communication with
20
     the Court regarding the performance of his services.” Order at 3 (Sept. 11, 2014), Doc. 741.
21
     The Court has also stated that it has “regular, almost daily meetings with the Monitor when
22
     he is in Maricopa County, and frequent contact regarding developments and inquiries when
23
     he is not.” Id. See also Transcript of Status Conference at 4 (May 14, 2014), Doc. 694 (“May
24
     14, 2014 Transcript”) (“I do have fairly regular communications with the Monitor.”);
25
     Transcript of Status Conference at 47 (May 7, 2014), Doc. 697 (“[T]he Monitor is very
26
     good at keeping me apprised of everything that’s going on. It’s one of his many strengths.”).
27
            The fact that the Court has treated the Monitor as an agent of the Court compounds
28
                                                    18
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 1
     the impropriety here. The Monitor’s role may be analogized to that of a law clerk who may
 2
     discuss the merits privately with the Court but who decidedly may not also engage in ex
 3
     parte communications with the parties. See Price Bros. Co. v. Philadelphia Gear Corp.,
 4
     629 F.2d 444, 447 (1980) (a “principle that reverberates throughout [precedent] is that a
 5
     judge may not direct his law clerk to do that which is prohibited to the judge”); see also
 6
     First Interstate Bank of Arizona, NA v. Murphy, Weir & Butler, 210 F.3d 983, 987 (9th Cir.
 7
     2000). Accordingly, the Court itself has effectively engaged in ex parte communications
 8
     with the parties too, requiring recusal. See Edgar, 93 F.3d at 259 (recusal required where
 9
     the judge, “[i]nstead of going himself” “to take an undercover tour of a mental institution
10
     to see how the patients were treated,” simply “appointed agents, who made a private report
11
     of how they investigated and what they had learned”); In re Brooks, 383 F.3d at 1041
12
     (recognizing, where court’s advisors had ex parte communications with the parties and then
13
     “transmitted” that information to the court in the form of ex parte reports, that recusal would
14
     be required if the information concerned the merits of the case); see also Kensington II, 368
15
     F.3d at 311 (court must be recused when it had ex parte conversations with the parties and
16
     its appointed advisors).
17
            Many of the ex parte conversations appear to have influenced the Court’s views on
18
     the merits of issues going to the heart of this case, including (but not limited to): whether
19
     Movants have violated the law or complied with the Court’s orders, whether Movants
20
     should be held in contempt, whether the Monitor’s powers should be enlarged, and whether
21
     Movants or other government officials are credible and trustworthy witnesses. For example,
22
     in one statement that mirrors other record excerpts discussed below, the Court stated that
23
     “the monitor’s briefings—limited, though they are, to the Court of the interviews that he
24
     has conducted—suggest, at least, that the violations that may have happened in a year and
25
     a half are quite numerous.” Transcript of Status Conference at 28 (Jan. 15, 2015), Doc. 858.
26
     Based on this statement, and those more fully set forth below, the Court’s recusal and the
27
     Monitor’s removal are required.
28
                                                    19
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 1                 1.     The Production of Police Recordings.
 2          Ex parte communications between the Monitor and the Court appear to have

 3   influenced the Court to issue orders to Defendants to remedy alleged non-compliance with

 4   the Court’s orders regarding the production of police recordings. For example, on May 16,

 5   2014, the Court explained that two days earlier, it was planning to meet privately with the

 6   Monitor to discuss the Monitor’s conversations with MCSO about preserving documents

 7   related to the Armendariz investigation. May 16, 2014 Transcript at 8. When the Monitor

 8   entered the Court’s chambers, Chief Deputy Sheridan telephoned the Monitor to report that

 9   Chief Trombi had emailed MCSO personnel directing them to preserve certain evidence

10   related to the Armendariz investigation. Id. The Monitor relayed this information ex parte

11   to the Court, which apparently concluded, on the basis of the Monitor’s ex parte report, that

12   Chief Trombi’s actions had the effect of “frustrating the plan that had been arrived at by

13   Chief Deputy Sheridan and the monitor.” Id. Based on this private conversation, the Court

14   directed the Monitor to provide the Court with “a formal written report” concerning Chief

15   Trombi’s actions. Id. at 25. The Monitor, in turn, directed Chief Deputy Sheridan to file a

16   report with the Monitor, so that the Monitor could relay that information to the Court. Id. at

17   25–26. It is difficult to imagine clearer confirmation that the Court’s ex parte

18   communications with the Monitor have actually constituted ex parte communications with

19   the parties, with the Monitor serving as intermediary.

20          Defense counsel objected to the process whereby the Court ordered the Monitor to

21   produce a report, and the Monitor in turn ordered Chief Deputy Sheridan to produce a

22   report, without ever notifying defense counsel of these orders. Id. at 25–26. Responding to

23   that objection, the Court confirmed that Chief Deputy Sheridan “should accept instruction

24   from Chief Warshaw as instruction from me.” Id. at 30.

25          These ex parte discussions concerned factual questions at the heart of the Court’s

26   contempt orders and expansion of the permanent injunction. Movants were not privy to

27   these “off-the-record discussions on substantive issues in chambers” between the Court and

28   the Monitor. Kensington II, 368 F.3d at 308 n.18. It appears, however, that as in Guenther
                                                   20
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 1
     II, the Monitor provided the Court a critical ex parte report relating to Movants’ discovery
 2
     conduct and integrity. See Guenther II, 939 F.2d at 760.
 3
                   2.     The MCSO’s Decision To Close Criminal Investigations.
 4
            The Monitor and the Court have engaged in ex parte communications concerning
 5
     MCSO’s decision to close criminal investigations arising out of Deputy Armendariz’s
 6
     suicide. At a hearing on October 28, 2014, the Court explained that it had a private
 7
     conversation with the monitors in which they “came to [the Court] and said that it was their
 8
     understanding that the only criminal investigation that resulted from the Armendariz matter
 9
     had just been closed.” Transcript of Status Conference at 36 (Oct. 28, 2014), Doc. 776
10
     (“Oct. 28, 2014 Hearing”). Although Movants have never had access to what the Monitor
11
     told the Court, “what Monitor Warshaw told [the Court] about the substance and quality of
12
     that investigation concerned [the Court] considerably.” Id.
13
            In light of this private conversation with the Monitor, the Court directed the Monitor
14
     to prepare a report concerning the adequacy of MCSO’s investigation into the Armendariz
15
     issue. Id. The Court and the Monitor then appear to have discussed privately the content of
16
     the Monitor’s report during the drafting process. The Court explained that, before the report
17
     was completed, “Chief Warshaw told me that you had subsequently informed him of
18
     additional things that he previously had not realized or been aware of or noticed of, and he
19
     asked me if I wanted him to revise the report.” Id. at 36–37. The Court then instructed the
20
     Monitor to proceed with drafting the report, and to update it later as necessary. Id. at 37.
21
     Only after the Court and the Monitor conferred privately on the report, and the Monitor
22
     completed the report, was the report made available to Defendants. Id. Even after
23
     Defendants responded to the report, the Court stated that it adhered to its initial view gleaned
24
     during the ex parte conversations—that is, it continued to believe “that much of [the
25
     Monitor’s concern] has purchase and gives me great concern . . . .” Id.
26
            The record indicates that the Monitor discussed the fruits of his investigation ex parte
27
     with the Court, and even apparently collaborated with the Court on what the Monitor’s
28
                                                    21
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 1
     report would say, before that report was presented to Defendants and Movants. The
 2
     impropriety of this process is plain on its face, “no less than if the judge had decided to take
 3
     an undercover tour of [defendants’] institution to see how” the Court’s orders were being
 4
     implemented. Edgar, 93 F.3d at 259.
 5
                   3.     The Adequacy of MCSO’s Internal Investigations.
 6
            Ex parte communications between the Monitor and the Court led the Court to
 7
     conclude that MCSO was not doing an adequate job of investigating improper conduct by
 8
     MCSO officials. On March 20, 2015, the Court stated that, “based on my conversations
 9
     with [the Monitor],” “it is my understanding that Mr. Vogel”—the MCSO’s independent
10
     internal investigator—“has been directed by the MCSO that he is to provide facts only and
11
     is not to evaluate those facts.” Transcript of Status Conference at 12 (Mar. 20, 2015), Doc.
12
     965 (“Mar. 20, 2015 Transcript”). The Court concluded that these facts, apparently reported
13
     to the Court ex parte by the Monitor, are “pretty concerning,” and that “there’s an inherent
14
     conflict there, especially if Mr. Vogel can’t come to his own conclusions or make any
15
     recommendations.” Id.
16
            Once again, Movants have not been privy to the substance of these ex parte
17
     communications, which apparently prejudiced the Court’s views of Movants and their
18
     compliance with the Court’s orders. The Court made credibility determinations and
19
     evaluated Movants’ compliance with its orders based on “personal knowledge of disputed
20
     evidentiary facts concerning the proceeding.” 28 U.S.C. § 455(b)(1). These conversations
21
     concerned “disputed issues that are at the core of” this case, Kensington II, 368 F.3d at 302,
22
     and so the Court’s “impartiality might reasonably be questioned,” 28 U.S.C. § 455(a).
23
                   4.     The Montgomery Investigation.
24
            The Monitor and the Court also have engaged in ex parte conversations regarding
25
     the Montgomery investigation. In April 2015, the Court ordered Defendants to preserve and
26
     disclose documents that they had received from Dennis Montgomery. After the Monitor
27
     reviewed those documents, the Monitor discussed the contents of those documents in
28
                                                    22
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 1
     private with the Court. For example, on May 8, 2015, the Court stated that after “[t]he
 2
     monitor started to review” those documents, “he gave me a couple of concerns that, frankly,
 3
     I hadn’t been aware of, and I want to raise them with you . . . .” Transcript of Status
 4
     Conference at 29 (May 8, 2015), Doc. 1464. The Court added that “the materials that
 5
     [Defendants] are providing involve records that I—and, Bob, if I misstate this, tell me—but
 6
     I believe the monitor on first cut thinks, based partly on Chief Deputy Sheridan’s testimony,
 7
     there was something I hadn’t anticipated.” Id. The Court explained that it “had not
 8
     anticipated that Mr. Montgomery would have done a file dump with the MCSO of those
 9
     files” that he allegedly procured from the CIA. Id.
10
            The Monitor also evaluated, ex parte with the Court, the relevance of the
11
     Montgomery documents. At that same May 8, 2015, hearing, the Court explained that the
12
     Monitor “indicated to me, at least based on a rough initial look, that there are clearly
13
     documents in that file that are very relevant to this litigation.” Id. at 33. The Montgomery
14
     documents provided a basis for the Court’s contempt findings and expansion of the
15
     permanent injunction, but Movants have not been apprised of the content of the Court’s ex
16
     parte conversations with the Monitor about those documents.
17
            The Court’s ex parte conversations with the Monitor concerning the Montgomery
18
     investigation also appear to have influenced the Court to expand the Monitor’s powers and
19
     conclude that Defendants have provided untruthful testimony to the Court. At a May 14,
20
     2015 hearing, the Court explained that the Monitor “has shown me several, 50 or so
21
     documents, that cause me great concern.” Transcript of Status Conference at 44 (May 14,
22
     2015), Doc. 1097. The Court stated that those documents that it reviewed in camera with
23
     the Monitor suggested a conspiracy between the Department of Justice and the Court, and
24
     the Court continued that it had “looked at these documents closely and I think there are a
25
     great deal of problems with them.” Id. at 46. The Court concluded that the documents had
26
     a “tendency to suggest that previous testimony offered in this matter may have been
27
     untruthful.” Id. The Court stated that this matter was relevant to the contempt hearings, and
28
                                                   23
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 1
     that it would require Defendants to address the materials at those hearings. Id. at 47. Finally,
 2
     the Court stated that it planned to order, “based upon [the Monitor’s] ongoing review of the
 3
     documents provided, that [the Monitor] be allowed to investigate these matters that are
 4
     pertinent to the current contempt findings.” Id. at 50–51. Defense counsel then raised a due
 5
     process objection to the Monitor’s expanded authority, which grew out of the Monitor’s ex
 6
     parte review of documents with the Court. Id. at 55. Movants have not been apprised of the
 7
     contents of the Court’s ex parte communications with the Monitor about this subject of the
 8
     contempt proceedings and the expanded injunction.
 9
            These ex parte matters concern issues that go to the very core of the proceedings:
10
     whether Defendants and Movants have complied with this Court’s orders and provided
11
     truthful testimony. The Monitor “gave [the Court] a couple of [his] concerns,” and provided
12
     ex parte commentary on which documents are relevant to the investigation and which
13
     should “cause [the Court] great concern.” These conversations appear to have influenced
14
     the Court’s decision to expand the Monitor’s powers, thus giving rise, at a minimum, to the
15
     appearance of partiality. 28 U.S.C. § 455(a). As in Guenther II, the Court received ex parte
16
     communications about whether Defendants and Movants were offering truthful testimony
17
     in this case. Guenther II, 939 F.2d at 760–61. The Court then took adverse action against
18
     Movants notwithstanding that Movants lacked “knowledge of what was discussed” or an
19
     opportunity to “respond to these ‘silent’ facts” that provided the basis for the orders against
20
     them. Kensington II, 368 F.3d at 309.
21
                   5.     Defendants’ and Movants’ Credibility and Good Faith.
22
            The Court and the Monitor have engaged in ex parte conversations regarding
23
     Defendants’ and Movants’ credibility, and whether Defendants and Movants have engaged
24
     in good faith efforts to comply with the Court’s orders. For example, the Monitor appears
25
     to have discussed Sheriff Arpaio’s credibility in ex parte conversations with the Court. In
26
     one such conversation, the Monitor discussed ex parte Sheriff Arpaio’s alleged statement
27
     to the Monitor that the Sheriff “loves to have confrontations with the federal court because
28
                                                    24
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 1
     every time he does his popularity goes up.” Transcript of Evidentiary Hearing at 19 (Dec.
 2
     4, 2014), Doc. 817.
 3
            The Court also indicated that the Monitor has opined ex parte on whether defense
 4
     counsel had engaged in good faith efforts to comply with the Court’s orders. See Oct. 28,
 5
     2014 Hearing at 52–53 (“Despite my disapproval of Ms. Stutz’ legal advice, the monitor
 6
     tells me that she has been very cooperative and very facilitative, and I want you to know,
 7
     Ms. Stutz, that he’s told me that.”).
 8
            On another occasion, the Court evaluated the credibility of Mr. Vogel, an
 9
     independent contractor hired by MCSO, based on what appear to be ex parte conversations
10
     with the Monitor. See Mar. 20, 2015 Transcript at 12 (Court stated that it was told by the
11
     Monitor that the Monitor has been “satisfied, and even somewhat praiseworthy, of Mr.
12
     Vogel’s investigation to date”).
13
            Similarly, at the evidentiary hearing, the Court assessed Captain Russ Skinner’s
14
     credibility, and regulated the presentation of testimony by both Captain Skinner and Captain
15
     Farnsworth, based almost entirely on what appears to have been ex parte conversations with
16
     the Monitor. The Court explained that “my monitor has never said anything other than that
17
     Captain Skinner has been exemplary . . . in his efforts to comply and in his efforts to contact
18
     with the monitor.” Transcript of Evidentiary Hearing Day 12 at 2724 (Oct. 9, 2015), Doc.
19
     1466. “In light of the fact that Skinner has been exemplary, and my monitor’s never said
20
     anything to the contrary,” the Court decided that it was “inclined to give you a little bit more
21
     time with Skinner [than with Farnsworth], if you want to establish a case for
22
     compliance . . . . [F]or that reason I’ll give him an hour and a half, but I’m not sure you
23
     need more.” Id. See also Transcript of Evidentiary Hearing Day 13 at 3210 (Oct. 13, 2015),
24
     Doc. 1467.
25
            In sum, the Monitor had ex parte conversations with the parties, and then commented
26
     ex parte on these conversations with the Court, discussing such substantive matters as
27
     witnesses’ credibility and whether they were acting in good faith. The Ninth Circuit’s
28
                                                    25
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 1
     decision in Guenther II, 939 F.2d at 760–61, makes clear that such conversations about
 2
     witness credibility violate due process and require recusal. The fact that some of the
 3
     Monitor’s comments appear to have been favorable, such as his comments concerning
 4
     Captain Skinner’s “efforts to comply” with the Court’s orders, does not eliminate the
 5
     prejudice to Movants. It is reasonable to assume that the Monitor also discussed the “efforts
 6
     to comply” made by other officials. Indeed, speaking favorably of some MCSO officials
 7
     could impliedly have been viewed as viewing unfavorably the credibility of other MCSO
 8
     officials. If the Monitor did in fact make negative ex parte credibility evaluations of these
 9
     other officials to the Court, these presentations could have biased the Court against
10
     Defendants and Movants, and at a minimum, created the appearance of bias. See Edgar, 93
11
     F.3d at 260.
12
                    6.       Defendants’ and Movants’ Compliance with Court Orders
13                           Regarding Internal Investigations and Document Production.
14          The Court and the Monitor have also engaged in ex parte conversations regarding

15   Defendants’ and Movants’ ongoing internal investigations. For example, at a hearing on

16   February 26, 2015, the Court stated that the Monitor had reported to the Court that

17   Defendants “may not be in technical compliance with [a] court order” regarding the status

18   of ongoing internal affairs investigations. Transcript of Status Conference at 51 (Feb. 26,

19   2015), Doc. 926. On another occasion, the Court disclosed that the Monitor had told the

20   Court ex parte that Defendants were not adequately apprising the Monitor about the status

21   of ongoing obligations. See Transcript of Evidentiary Hearing at 17–18 (Apr. 21, 2015),

22   Doc. 1017 (“I will tell you that I’ve been consulting with the monitor and with monitor

23   Kiyler and they have not been informed as to the status of those investigations despite

24   repeated requests.”).

25          More generally, the Court and the Monitor have engaged in regular, continuous

26   communication regarding the adequacy of Defendants’ document production. See, e.g.,

27   Transcript of Evidentiary Hearing Day 6 at 1484 (Sept. 25, 2015), Doc. 1465 (“I will say

28   that the monitor did provide me a quick bit of information that they do not have Chief
                                                   26
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 1
     Deputy Sheridan’s grievance grant on the Hechavarria matter.”); Transcript of Telephonic
 2
     Conference at 7 (Nov. 19, 2015), Doc. 1575 (“I will tell you I just called yesterday to check
 3
     with my monitor to see if they had 14-221 and they didn't have it yet.”).
 4
            Once again, these conversations went to the very heart of the merits of this case. The
 5
     Monitor conducted ex parte conversations with the Court evaluating whether Defendants
 6
     have been in “compliance” with the Court’s orders and the speed with which Defendants
 7
     complied with those orders. The Court has thus obtained “personal knowledge of disputed
 8
     evidentiary facts concerning the proceeding.” 28 U.S.C. § 455(b)(1). And it is hard to see
 9
     how these ex parte communications would not cause a reasonable observer to suspect that
10
     the Monitor has influenced the Court’s views of the merits in this case.
11
                   7.     The Armendariz Investigation.
12
            The Monitor and the Court have engaged in ex parte communication about the
13
     Armendariz investigation, which was one of the bases for the Court’s contempt finding. For
14
     example, at a hearing on May 14, 2014, the Court discussed “information that I’ve received
15
     from my monitor about communications that [Defendant Arpaio] had with [the Monitor]”
16
     concerning Deputy Armendariz’s use of a dash camera. May 14, 2014 Transcript at 52. See
17
     also May 16, 2014 Transcript at 5–6 (Court confirming that it learned detailed information
18
     about the Armendariz issue through ex parte conversations with the Monitor).
19
            At the same May 14 hearing, the Court also indicated that it had ex parte
20
     conversations with the Monitor concerning the MCSO’s internal policies on digital
21
     recordings, which were relevant to the Armendariz investigation. See May 14, 2014
22
     Transcript at 55 (“It is my understanding from my monitor . . . that the MCSO had no policy
23
     relating to the self-recording of traffic stops by deputies, is that correct?”); id. at 63 (“The
24
     monitor, in his initial activities, has come across the fact that during the term of the traffic
25
     stops that are at issue in this lawsuit there have been digital audio devices that have been
26
     delivered to members of the MCSO to make recordings of all such stops. Are you aware of
27
     that?”).
28
                                                    27
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 1
            The Court thus has “personal knowledge of disputed evidentiary facts concerning
 2
     the proceeding.” 28 U.S.C. § 455(b)(1). Additionally, because the Court and the Monitor
 3
     have engaged in ex parte proceedings regarding “disputed issues that are at the core” of this
 4
     case, Kensington II, 368 F.3d at 302, the Court’s “impartiality might reasonably be
 5
     questioned,” 28 U.S.C. § 455(a).
 6
                   8.     The Court’s Ex Parte Fact Finding.
 7
            During the Court’s cross-examination of Movants during the contempt proceedings,
 8
     it became clear that the Monitor and the Court also have privately discussed issues related
 9
     to the Montgomery investigation. At the evidentiary hearing held on April 23, 2015, the
10
     Court revealed, during its questioning of Sheriff Arpaio, that the Court had investigated,
11
     outside the courtroom, the question whether funds are available to MCSO for the purpose
12
     of conducting investigations. Transcript of Evidentiary Hearing Day 3 at 657–58 (Apr. 23,
13
     2015), Doc. 1027. The Court stated that it “was told over lunch that posse funds” are
14
     available to MCSO, and that Sheriff Arpaio “ha[s] various sources of funding within the
15
     MCSO, like the Cold Case posse has its own funds.” Id. The Court later acknowledged the
16
     Monitor as the ex parte source of its information about the MCSO’s funding sources. See
17
     Order Denying Motion for Recusal or Disqualification at 20 (July 10, 2015), Doc. 1164.
18
     These ex parte conversations formed part of the basis for Movants’ May 2015 recusal
19
     motion. See Motion for Recusal or Disqualification of District Judge G. Murray Snow at 15
20
     (May 22, 2015), Doc. 1117.
21
                   9.     The Need To Expand the Monitor’s Authority.
22
            Before the Court expanded the Monitor’s authority in the Second Supplemental
23
     Permanent Injunction, the Court and the Monitor discussed in private the Monitor’s
24
     “concerns about MCSO operations” that “didn’t fall within the scope of our order.” May
25
     14, 2014 Transcript at 29 (“The monitor’s already come to me with a few concerns about
26
     MCSO operations, and he wanted to know what to do with them, because while they might
27
     have been recommendations he could have made, they really didn’t fall within the scope of
28
                                                   28
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 1
     our order.”). It is unclear whether the Court’s expansion of the Monitor’s authority was
 2
     based on these conversations, but they create at least an appearance of improper influence.
 3
                    10.   The Structure of Community Outreach Meetings.
 4
            The Court and the Monitor have engaged in ex parte conversations that influenced
 5
     the Permanent Injunction’s provisions concerning community engagement. On April 4,
 6
     2014, the Court entered amendments to the Injunction providing for a public meeting for
 7
     all of Maricopa County within 180 days of the Court’s order, and one to three meetings
 8
     annually thereafter. See Amendments to the Supplemental Permanent Injunction/Judgment
 9
     Order at 3 (Apr. 4, 2014), Doc. 670. The previous day, the Court explained that this structure
10
     was established based on the Monitor’s ex parte recommendations to the Court.
11
     Specifically, the Court explained that the Monitor told the Court that “to divide [the
12
     meetings] into one-half of the county and the other half of the county is such a large group
13
     that it makes it completely infeasible to have any sort of personal impact on the policing.”
14
     Transcript of Status Conference at 43 (Apr. 3, 2014), Doc. 672. Accordingly, the Court
15
     decided to adopt the Monitor’s recommendation “that we don’t divide into two
16
     communities, that we have one community meeting for the whole county one month, and
17
     then that we have from between one to three meetings in each district annually . . . .” Id.
18
     Once again, these conversations strike at the heart of this case, i.e., how the Court should
19
     structure relief.
20
                                          *   *    *    *   *
21
            The ex parte communications discussed above are known to Movants only because
22
     they were disclosed by the Court on the record. It seems likely that they are the tip of an
23
     iceberg. Indeed, as previously noted, none of the ex parte communications disclosed on the
24
     record concern information gathered by the Monitor from its ex parte communications with
25
     Plaintiffs and/or their counsel. Movants would require discovery to determine the scope and
26
     content of any such improper communications. But for purposes of the instant motion, the
27
     known ex parte communications make clear that both the Court and the Monitor are
28
                                                   29
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 1
     disqualified from further participation in this case.
 2
     IV.    CONCLUSION.
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            For the foregoing reasons, Movants respectfully request that the Court (1) order that
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     the Monitor’s operations be suspended immediately pending resolution of this motion, and
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     (2) after briefing and argument, grant Movants’ request that the Court be recused and the
 6
     Monitor be removed from all future proceedings in this case.
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 8                  DATED this 26th day of October, 2016.
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                                                  COOPER & KIRK, PLLC
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11
                                                  By Charles J. Cooper
12                                                  Charles J. Cooper*
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18
19                                                By John T. Masterson
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22
23                                                Attorneys for Defendant Joseph M. Arpaio
                                                  and non-party Movants Gerard Sheridan and
24                                                Joseph Sousa
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                                                    30
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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on this 26th day of October, 2016, I caused the foregoing

 3   document to be filed electronically with the Clerk of Court through the CM/ECF System

 4   for filing; and served on counsel of record via the Court’s CM/ECF system.

 5
     /s/ Charles J. Cooper
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     Charles J. Cooper
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